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                       UNITED STATES DISTRICT COURT
                                    for the
                        DISTRICT OF MASSACHUSETTS
__________________________________________
DAVID HILTZ,                                )
ARTHUR JOST,                                )
MICHAEL MACHADO, and                        )
TIMOTHY PALMER,                             )
      Plaintiffs                            )
                                            ) Civil Action No.
V.                                          )
                                            )
THE HAWK EYE FISHING CORP.,                 )
      Defendant                             )
__________________________________________)

                 PLAINTIFFS’ COMPLAINT AND DEMAND FOR TRIAL

      NOW COME the Plaintiffs in the above-entitled matter, and state as follows:

                                  General Factual Allegations

1.    The Plaintiff David Hiltz is a resident of Isle au Haut, Maine.

2.    The Plaintiff Arthur Jost is a resident of Stuart, Florida.

3.    The Plaintiff Michael Machado is a resident of East Freetown, Massachusetts.

4.    The Plaintiff Timothy Palmer is a resident of Stuart, Florida.

5.    The Defendant is a corporation organized and existing under the laws of the State of

Delaware.

6.    During 2008, the Defendant owned the F/V SEA HAWK.

7.    During 2008, the Defendant operated the F/V SEA HAWK.

8.    During 2008, the Defendant transacted business within the Commonwealth of

Massachusetts.

9.    During 2008, the Defendant transacted business within the Commonwealth of

Massachusetts with respect to the ownership and operation of the F/V SEA HAWK.
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10.   The Defendant regularly does or solicits business within the Commonwealth of

Massachusetts.

11.   The Defendant engages in a persistent course of conduct of activities within the

Commonwealth of Massachusetts.

12.   The Defendant derives substantial revenue from goods used or consumed or services

rendered in the Commonwealth of Massachusetts.

13.   During 2008, the Plaintiff David Hiltz was employed by the Defendant.

14.   During 2008, the Plaintiff Arthur Jost was employed by the Defendant.

15.   During 2008, the Plaintiff Michael Machado was employed by the Defendant.

16.   During 2008, the Plaintiff Timothy Palmer was employed by the Defendant.

17.   During 2008, the Plaintiff David Hiltz was employed by the Defendant as a seaman and a

member of the crew of the F/V SEA HAWK.

18.   During 2008, the Plaintiff Arthur Jost was employed by the Defendant as a seaman and a

member of the crew of the F/V SEA HAWK.

19.   During 2008, the Plaintiff Michael Machado was employed by the Defendant as a seaman

and a member of the crew of the F/V SEA HAWK.

20.   During 2008, the Plaintiff Timothy Palmer was employed by the Defendant as a seaman

and a member of the crew of the F/V SEA HAWK.

                                         Jurisdiction

21.   This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §1331

and 28 U.S.C. §1333.

22.   This is an admiralty claim within the meaning of Fed.R.Civ.P. 9(h).

                                          COUNT I
                                            2
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                    (GENERAL MARITIME LAW WAGE LOSS CLAIM)

23.    The Plaintiffs reiterate the allegations set forth in paragraphs 1 through 21 above.

24.    The Defendant has failed, refused, and neglected to make payment of the full wages due

to the Plaintiffs for their work on the F/V SEA HAWK in the amount of $100,000.00.

25.    The Plaintiffs have made demand for said wages and unreimbursed expenses upon the

Defendant, but the Defendant has wrongfully and improperly refused to make payment for same.

26.    This cause of action is brought under the General Maritime Law.

       WHEREFORE, the Plaintiffs demand judgment against the Defendant in the amount of

$100,000.00, together with punitive damages, interest and costs.




                                             Respectfully submitted for
                                             the Plaintiffs, by their attorney,


                                             /s/ David J. Berg_____
                                             David J. Berg, Esq.
                                             Latti & Anderson LLP
                                             30-31 Union Wharf
                                             Boston, MA 02109
                                             617-523-1000

Dated: March 22, 2010




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